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  6

  7                              UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
  8
                                                          Case No. 8:18-cv-02295-JVS-ADS
  9

 10                                                       PROPOSED ORDER
       TIFFANY COLEMAN,
 11                      Plaintiff,
 12
              v.
 13
       AMERICAN HONDA FINANCE
 14    CORPORATION,

 15                      Defendant.

 16          Plaintiff, TIFFANY COLEMAN, by and through her attorneys, SULAIMAN LAW
 17
      GROUP, LTD., having filed with this Court her Motion for Leave to Appear Telephonically at
 18
      Scheduling Conference and the Court have reviewed same finds:
 19

 20          1. Plaintiff’s counsel shall be allowed to appear telephonically at Scheduling Conference.
 21   Dated: March 05, 2019
 22
                                                                 DENIED
                                                     BY   ORDER OF THE COURT
                                                      /s/______________________
 23                                                   Judge, U.S. District Court
 24

 25
              Counsel who file in the Central District assume the duty of appearing personally in
 26                             the Central District. JVS March 05, 2019

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